    Case 2:14-cr-00021-RMP             ECF No. 1842          filed 03/02/16      PageID.10162 Page 1 of 3
PROB 12C                                                                                  Report Date: March 2, 2016
(7/93)
                                                                                                             FILED IN THE
                                        United States District Court                                     U.S. DISTRICT COURT
                                                                                                   EASTERN DISTRICT OF WASHINGTON


                                                        for the                                     Mar 02, 2016
                                                                                                        SEAN F. MCAVOY, CLERK
                                         Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Brett A. Luton                             Case Number: 0980 2:14CR00021-RMP-23
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Rosanna Malouf Peterson, U. S. District Judge
 Date of Original Sentence: April 1, 2015
 Original Offense:        Conspiracy to Possess with Intent to Distribute Oxycodone Hydrochloride, 21 U.S.C.
                          §§ 841(a)(1), (b)(1)(C), and 846
 Original Sentence:       Prison - 6 months;                  Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Aine Ahmed                          Date Supervision Commenced: October 29, 2015
 Defense Attorney:        Federal Defenders Office            Date Supervision Expires: October 28, 2018


                                          PETITIONING THE COURT

                To issue a summons.

The probation officer believes that the offender has violated the following condition(s) of supervision:
Violation Number        Nature of Noncompliance

           1            Standard Condition # 7: The defendant shall refrain from excessive use of alcohol and
                        shall not purchase, possess, use, distribute, or administer any controlled substance or any
                        paraphernalia related to any controlled substance, except as prescribed by a physician:

                        Supporting Evidence: On February 17, 2016, the undersigned officer, along with the
                        assistance of United States Probation Officer (USPO) Law, attempted to conduct a new
                        home investigation at the request of Mr. Luton, to allow him the ability to transition to a new
                        fixed residence. Upon arriving at the new proposed residence, Mr. Luton escorted the
                        undersigned officer and USPO Law into the residence. In plain view located in the living
                        room was what Mr. Luton identified as a “marijuana diffuser”, a small marijuana pipe, an
                        amount of marijuana in a plastic bag located on a small table in the living room, and two
                        small containers of “marijuana crumble,” a form of marijuana concentrate.

                        Mr. Luton denied using the product and denied that any of the items in question were his,
                        instead stating that all of the products, as well as the drug itself, belonged to his girlfriend
                        and sponsor who rented the residence. It should be noted that Mr. Luton was the only person
                        present during the inspection of the residence. All items were confiscated based on the plain
                        view search, and placed into evidence at U.S. Probation. It should also be noted that the
                        undersigned officer was able to make telephonic contact with the sponsor who did indicate
                        that the aforementioned products were hers.
   Case 2:14-cr-00021-RMP       ECF No. 1842          filed 03/02/16      PageID.10163 Page 2 of 3
Prob12C
Re: Luton, Brett A.
March 2, 2016
Page 2

          2      Mandatory Condition # 4: The defendant shall refrain from any unlawful use of a
                 controlled substance. The defendant shall submit to one drug test within 15 days of release
                 from imprisonment and at least two periodic drug tests thereafter, as directed by the
                 probation officer.

                 Supporting Evidence: On February 18, 2016, Mr. Luton reported to U.S. Probation, as
                 directed, to further discuss his noncompliance; reference the drug paraphernalia recently
                 located at his residence. Mr. Luton submitted to a urinalysis test as a part of the contact, the
                 results of which were presumptive positive for THC and cocaine. Mr. Luton adamantly
                 denied use, and stated that at no time had he used, or been around others who were using.

                 The undersigned officer subsequently received notification from Alere Toxicology that the
                 urinalysis sample submitted by Mr. Luton at U.S. Probation on February 18, 2016, was
                 confirmed positive for both cocaine metabolite, and marijuana metabolite.

                 On February 24, 2016, Mr. Luton reported to Alcohol Drug Education Prevention and
                 Treatment (ADEPT) to participate in urinalysis testing as required, and again submitted a
                 urinalysis sample that was presumptive positive for THC and cocaine. Mr. Luton admitted
                 use, but indicated the positive test was a result of his last use of cocaine on February 16,
                 2016. According to ADEPT staff, a continued positive urinalysis spanning this time frame
                 is consistent with new use of the substance. The sample provided was later confirmed as
                 positive for cocaine metabolite by Alere Toxicology. It should be noted that Mr. Luton did
                 leave a voice mail for the undersigned officer on February 24, 2016, apologizing for lying
                 to the undersigned officer and admitting to use “the prior weekend.” Mr. Luton later
                 confirmed that his last use of cocaine was February 16, 2016.

                 On February 29, 2016, Mr. Luton again reported to U.S. Probation to address his continued
                 noncompliance. Mr. Luton again admitted use of cocaine on February 16, 2016, but denied
                 any use of marijuana. Mr. Luton instead provided the undersigned officer with an active
                 prescription for Dronabinol (a generic alternative to Marinol), which Mr. Luton indicated
                 had been prescribed to him for leg pain resulting from his multiple sclerosis. Marinol is in
                 the cannabinoid drug class. Mr. Luton indicated he has had the prescription since November
                 2015, but he only recently got the prescription refilled, as he had not had the money to do
                 so for the previous 6 weeks. It should be noted that the prescription was verified by the
                 undersigned officer both by viewing the bottle, and by reviewing an after visit summary from
                 Providence Health Care in which the prescription is listed as a current medication.
          3      Standard Condition # 6: The defendant shall notify the probation officer at least ten days
                 prior to any change in residence or employment.

                 Supporting Evidence: On February 10, 2016, the undersigned officer, along with the
                 assistance of USPO Lerch, attempted a home contact with Mr. Luton at his residence. The
                 undersigned officer was informed by Mr. Luton’s sponsor that Mr. Luton had not been
                 staying at the residence for the past few days, and indicated that he believed Mr. Luton was
                 residing with his girlfriend, but he was not sure of the address. Telephonic contact was
                 made with Mr. Luton who admitted to residing with his girlfriend. When later questioned
                 on why he had not provided notification of the change in residence, Mr. Luton indicated he
                 had been under a lot of stress, and simply forgot to do so.
   Case 2:14-cr-00021-RMP           ECF No. 1842       filed 03/02/16       PageID.10164 Page 3 of 3
Prob12C
Re: Luton, Brett A.
March 2, 2016
Page 3
The U.S. Probation Office respectfully recommends the Court issue a summons requiring the offender to appear
to answer to the allegations contained in this petition.
                                       I declare under penalty of perjury that the foregoing is true and correct.
                                                         Executed on:     03/02/2016
                                                                          s/Chris Heinen
                                                                          Chris Heinen
                                                                          U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ X]     The Issuance of a Summons
 [ ]      Other

                                                                          Signature of Judicial Officer
                                                                                  3/2/2016

                                                                          Date
